              Case 2:23-cv-00932-JHC Document 122 Filed 11/14/23 Page 1 of 3




 1                                                                         The Honorable John H. Chun

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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8 FEDERAL TRADE COMMISSION,                                 No. 2:23-cv-0932-JHC
 9                               Plaintiff,                  JOINT MOTION FOR ENTRY OF
                                                             STIPULATED ORDER PURSUANT
10           v.                                              TO FEDERAL RULE OF EVIDENCE
                                                             502(D)
11 AMAZON.COM, INC., et al.,
                                                             NOTE ON MOTION CALENDAR:
12                               Defendants.                 November 14, 2023
13

14
             The parties, by and through their attorneys of record, respectfully request that the Court
15
     enter the attached Proposed Stipulated Federal Rule of Evidence 502(d) Order.
16
             In support of this Motion, the parties state as follows:
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             1.      Federal Rule of Evidence 502(d) permits the Court to “order that the [attorney-
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     client] privilege or [work-product] protection is not waived by disclosure connected with the
19
     litigation pending before the court—in which event the disclosure is also not a waiver in any
20
     other federal or statement proceeding.”
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             2.      Consistent with Rule 502(d), the Court’s Model Stipulated Protective Order
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     includes a provision stating that “the production of any documents, electronically stored
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     information (ESI) or information, whether inadvertent or otherwise, in this proceeding shall not,
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     for the purposes of this proceeding or any other federal or state proceeding, constitute a waiver
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     by the producing party of any privilege applicable to those documents.”
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27 JOINT MOTION FOR ENTRY OF                                                     Federal Trade Commission
     FED. R. EVID. 502(D) ORDER                                              600 Pennsylvania Avenue N.W.
     Case No. 2:23-cv-0932-JHC - 1                                                  Washington, DC 20580
                                                                                            (202) 326-3320
              Case 2:23-cv-00932-JHC Document 122 Filed 11/14/23 Page 2 of 3




 1           3.      The parties have supplemented the Court’s model Rule 502(d) order language

 2 with procedures regarding the handling of potentially privileged information. The attached

 3 Proposed Order memorializes the parties’ agreement.

 4

 5 Stipulated to and respectfully submitted this 14th day of November, 2023, by:

 6
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27 JOINT MOTION FOR ENTRY OF                                                 Federal Trade Commission
     FED. R. EVID. 502(D) ORDER                                          600 Pennsylvania Avenue N.W.
     Case No. 2:23-cv-0932-JHC - 2                                              Washington, DC 20580
                                                                                        (202) 326-3320
              Case 2:23-cv-00932-JHC Document 122 Filed 11/14/23 Page 3 of 3



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18                                           Amazon.com, Inc. and pro hac vice application
                                             forthcoming on behalf of Defendants Lindsay,
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20                                           Attorneys for Defendants
                                             AMAZON.COM, INC., LINDSAY,
21                                           GRANDINETTI, AND GHANI
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27 JOINT MOTION FOR ENTRY OF                                         Federal Trade Commission
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